Case 1:23-mi-99999-UNA Document 801-4 Filed 03/15/23 Page 1 of 3




                Exhibit C
                       Case 1:23-mi-99999-UNA Document 801-4 Filed 03/15/23 Page 2 of 3


                                   IN THE STATE COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
CAROLYN BRADSHAW
              Plaintifﬂs) /Petiti0ner(s)
v.                                                                                                Case No.1 23A00594

MICHAEL JONES and ALABAMA CARRIERS, LLC
              Defé/1cial1t(s) / Respondent(s)


                                                AFFIDAVIT OF SERVICE

I, James Franklin, being duly sworn, state:


I am a specially appointed or permanent process server authorized to
                                                                       complete this service.

I served the following documents on Michael Jones in Jefferson
                                                               County, AL on February l6, 2023 at 2:42 pin at
                                                          by leaving the following documents at the usual place of
abode of Michael Jones with Yashica Jones who is of suitable age and discretion and resides therein.


Summons, Complaint and Demand for Jury Trial, Plaintiff's First Set of Interrogatories and Request For Production
of Documents to Defendant Michael Jones, Plaintiff's First Request For Admissions to Defendant Michael Jones,
Plaintiff's First Request For Admissions to Defendant Alabama Carriers, LLC, Plaintiff' s First Requests For
Production of Documents to Defendant Alabalna Carriers, LLC, Plaintiff's First Interrogatories to Defendant
Alabama Carriers, LLC, Plaintiff's First Interrogatories and Request For Production of Documents to State Farm
Mutual Automobile Insurance Company, Plaintiff' s First Request For Admissions to State Farm Mutual Automobile
Insurance Company, and Certiﬁcate of Serving Discovery Material


Additional Description:
l delivered the documents to Michael Jones's wife, Yashica Jones.


Black or African American Female, est. age 40, glasses: N, Black hair, 140 lbs to 160 lbs, 5' 3" to 5' 6".
Geolocation of Serve: http://maps.google.com/maps?q
Photograph: See Eimibit l


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James Franklin
(205) 8359850




                                                                                                                 STATE COURT OF
                                                                                                             DEKALB COUNTY, GA.
Job #241724                                            13226462                                                  Page  l
                                                                                                                  2/27/2023 2:33 PM
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                                                                                                              BY: Mundy B Jackson
               Case 1:23-mi-99999-UNA Document 801-4 Filed 03/15/23 Page 3 of 3



M,
  Subscribed and sworn to before me this

          by
                                           2" day
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 Witness my hand and ofﬁcial seal.

                                                                   M
 My commission expires:    i   3/ 303'!             ' 9?" .
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Job #241724                                             13226462
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